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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                    )           Chapter 11
                                                          )
REPUBLIC METALS REFINING                                  )           Case No. 18-13359 (shl)
CORPORATION, et al., 1                                    )
                                                          )           (Jointly Administered)
                                Debtors.                  )
                                                          )

    ORDER GRANTING DEBTORS’ MOTION TO SELL PROPERTY OF THE ESTATE
     FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS
                       PURSUANT TO 11 U.S.C. § 363
                          (REMAINING ASSETS)

          Upon the Motion to Sell Property of the Estate Free and CLear of Liens, Claims,

Encumbrances, and Interests Pursuant to 11 U.S.C. § 363 (the "Motion") [Doc. No. 691] 2 and the

Supplement thereto [ECF No. 801, filed by the above-captioned Debtors and Debtors-in-

possession (collectively, the "Debtors"); and a hearing having been held on March 21, 2019 (the

"Hearing"), to consider the relief requested in the Motion and approval of the Remaining Asset

Sale Procedures; and upon all of the evidence presented in support of such relief, including the

Declarations of Scott Avila, as CRO [ECF No. 802] and Michael Goodman, of SSG Capital

Advisors, LLC [ECF No. XXX] and representations on the record by counsel; and the Court

having found and determined that the relief granted herein is in the best interests of the Debtors,

their estates, the Senior Lenders, and all other creditors, equity holders and parties in interest,

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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38th Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL
33054 (1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW
38th Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848),
Republic Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China
(1639), and Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero
Edificio Central, Delegación Cuauhtémoc, Mexico DF 6000 (2942).
2
    All capitalized terms not otherwise defined in this Order have the meaning ascribed to them in the Motion.


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and that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and after due deliberation and sufficient cause appearing therefor, it is hereby

         ORDERED:

         1.      The Motion is GRANTED.

         2.      The Debtors are authorized to sell the Remaining Assets free and clear of all

liens, claims, interests, and encumbrances, pursuant to 11 U.S.C. § 363, with any liens to attach

to the sale proceeds in the order and priority in which they existed as of the November 2, 2018

Petition Date.

         3.      The Remaining Asset Sale Procedures are approved.

         4.      The Debtors are authorized to sell the RTMM Assets to Valcambi for $100,000

or any party submitting a higher and better offer. If the sale of the RTMM Assets to Valcambi

or to any bidder submitting a higher and better bid does not close, the Debtors are authorized to

file a Notice of Intent to Sell the RTMM Assets to an alternative bidder on 5 days' notice to

interested parties (a "Sale Notice"). If an interested party objects to a Sale Notice, the Debtors

may request the Court hold a hearing on that objection.

         5.      The Debtors are authorized to sell the RMRC Assets to Valcambi for $25,000, or

to any party submitting a higher and better offer. If the sale of the RMRC Assets to Valcambi

or to any bidder submitting a higher and better bid does not close, the Debtors are authorized to

file a Sale Notice with respect to the RTMM Assets. If an interested party objects to a Sale

Notice, the Debtors may request the Court hold a hearing on that objection.

         6.      Notwithstanding Bankruptcy Rules 4001, 6004, 6006, 7062, and 9014, or any

other law that might serve to stay or limit the immediate effect of this Order, this Order shall be

effective and enforceable immediately upon entry and its provisions shall be self-executing.




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         7.    This Court shall retain jurisdiction with regard to all issues or disputes relating to

interpretation, implementation, and enforcement of this Order.

Dated: New York, New York
       March 29, 2019

                                              /s/ Sean H. Lane
                                              HONORABLE SEAN H. LANE
                                              UNITED STATES BANKRUPTCY JUDGE




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